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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                               Eastern Division

Brandon Stollings
                                        Plaintiff,
v.                                                         Case No.: 1:08−cv−04006
                                                           Honorable Gary Feinerman
Ryobi Technologies, Inc., et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 2, 2014:


        MINUTE entry before the Honorable Gary Feinerman:Final pretrial conference
held. Motion hearing held. For the reasons stated on the record, Defendants' motion to
remove "Confidential − Attorneys' Eyes Only" designation from certain Sawstop
documents [499] is entered and continued; Plaintiff was directed to provide SawStop a set
of the documents in question, and SawStop's counsel is directed to inform Plaintiff's and
Defendants' counsel by 2:00 p.m. Central time on 9/5/2014 whether SawStop would like
any portions of the documents (other than Exhibit 86) to remain confidential and/or
redacted. For the reasons, to the extent, and with the qualification stated on the record,
Defendants' motion in limine regarding the UL proposal [496] is granted. For the reasons
and to the extent stated on the record, Defendants' motion in limine regarding the Bosch
and Black & Decker products [497] is granted in part (as to the Black & Decker product)
and denied in part (as to the Bosch product). Plaintiff's counsel will inform Bosch's
counsel of the pages and lines of the deposition transcripts in question. For the reasons, to
the extent, and with the qualification stated on the record, Defendants' motion in limine to
bar Dr. Gass from testifying [428] is granted in part (as to post−first trial feasibility) and
denied in part (as to barring Gass entirely and as to pre−first trial feasibility); if Gass
produces the documents in question, he may testify as to post−first trial feasibility. For the
reasons stated on the record, Defendants' motion in limine to bar Graham from testifying
[427] is denied. For the reasons stated on the record, Defendants will be permitted to
introduce evidence and make arguments at trial regarding Plaintiff's alleged fault for the
accident.Mailed notice.(jlj, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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